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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

In re:
                                                                                                          Chapter 13
                                                                                             Case No.: 15-13202-LMI
KELVIN ALEXANDER CHARLES

      Debtor.
_______________________________/


                    BSI FINANCIAL SERVICES, AS SERVICING AGENT
               FOR U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE
              OF THE IGLOO SERIES III TRUST’S EX-PARTE MOTION1 FOR AN
                  AMENDED ORDER TO CORRECT SCRIVENER’S ERROR

         BSI FINANCIAL SERVICES, AS SERVICING AGENT FOR U.S. BANK TRUST

NATIONAL ASSOCIATION AS TRUSTEE OF THE IGLOO SERIES III TRUST

(“Secured Creditor”), its successor and/or assigns, by its undersigned counsel, hereby files this

Ex-Parte Motion for an Amended Order to Correct Scrivener’s Error (the “Motion”), and in

support thereof states as follows:

         1.        On February 23, 2015 (the “Petition Date”), the Debtor, Kelvin Alexander

Charles (the “Debtor”), filed a Voluntary Petition under Chapter 13 of the United States

Bankruptcy Code [D.E. 1].

         2.        On July 9, 2018, Secured Creditor filed a Motion to Confirm the Automatic Stay

Has Terminated and Is Not in Effect As To The Debtor and Co-Debtor Armenia Ortega [D.E.

148] (the “Motion to Confirm No Stay”).

         3.        On August 7, 2018, a hearing on the Motion to Confirm No Stay was conducted

and the Motion to Confirm No Stay was granted.
1
 This Ex-Parte Motion for Amended Order is filed for the sole purpose of correcting a scrivener’s error as to the named Secured
Creditor to correctly reflect the Secured Creditor name as BSI Financial Services, as Servicing Agent for U.S. Bank National
Association as Trustee of Igloo Series III Trust.
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          4.    Secured Creditor asserts that as a result of a scriveners the Motion to Confirm No

Stay and the proposed order submitted incorrectly denoted the secured creditor as BSI Financial

Services, as Servicing Agent for HMC Assets, LLC Solely in its Capacity as Trustee for U.S.

Bank National Association as Trustee for Igloo Series III Trust.

          5.    Secured Creditor asserts that the correct name of secured creditor is BSI Financial

Services, as Servicing Agent for U.S. Bank National Association as Trustee for Igloo Series III

Trust.

          6.    On August 10, 2018, the Court entered the Order Granting Motion for

Clarification of the Automatic Stay Re: # 148, Granting Motion For Relief From Co-Debtor Stay

[D.E. 156] (the “Relief Order”) which incorrectly denotes secured creditor as BSI Financial

Services, as Servicing Agent for HMC Assets, LLC Solely in its Capacity as Trustee for U.S.

Bank National Association as Trustee for Igloo Series III Trust.

          7.    Secured Creditor now seeks entry of an Amended Order to correct the scrivener’s

error to properly reflect name of secured creditor as BSI Financial Services, as Servicing Agent

for U.S. Bank National Association as Trustee for Igloo Series III Trust.

          8.    Secured Creditor further asserts that no undue hardship or unjust harm will be

imposed upon any interested party in this case should the Court grant the instant Motion sought

herein.

          9.    A copy of a proposed Amended Order is attached hereto as Exhibit “A”.



          WHEREFORE, Secured Creditor, respectfully requests that this Court grant the Motion

and enter an Amended Order confirming that the automatic stay has terminated and is not in
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effect as to secured creditor as BSI Financial Services, as Servicing Agent for U.S. Bank

National Association as Trustee for Igloo Series III Trust.

Dated this 15th day of August, 2018.

                                                      Respectfully submitted,

                                                      GHIDOTTI ǀ BERGER, LLP
                                                      Attorneys for Secured Creditor
                                                      3050 Biscayne Blvd. - Suite 402
                                                      Miami, Florida 33137
                                                      Telephone: (305) 501.2808
                                                      Facsimile: (954) 780.5578

                                                      By:     /s/ Chase A. Berger
                                                              Chase A. Berger, Esq.
                                                              Florida Bar No. 083794
                                                              cberger@ghidottiberger.com




               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

               I certify that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice

in this court as set forth in Local Rule 2090-1(A).


                                              By:      /s/ Chase A. Berger
                                                           Chase A. Berger, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 15, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:


      Debtor                                            Debtor’s Counsel
      Kelvin Alexander Charles                          Michael A. Frank, Esq.
      11102 N.W. 83rd Street - #114                     10 N.W. LeJeune Road #620
      Miami, FL 33178                                   Miami, FL 33126

      Trustee                                           U.S. Trustee
      Nancy K. Neidich                                  Office of the US Trustee
      P.O. Box 279806                                   51 S.W. 1st Avenue - Suite 1204
      Miramar, FL 33027                                 Miami, FL 33130

      Armenia Ortega
      11910 N.E. 10th Avenue
      Biscayne Park, FL 33161-6414


                                             By:     /s/ Chase A. Berger
                                                         Chase A. Berger, Esq.
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:
                                                                                 Chapter 13
                                                                    Case No.: 15-13202-LMI
KELVIN ALEXANDER CHARLES

      Debtor.
_______________________________/

               AMENDED ORDER ON BSI FINANCIAL SERVICES, AS
           SERVICING AGENT FOR U.S. BANK NATIONAL ASSOCIATION
         AS TRUSTEE OF IGLOO SERIES III TRUST’S MOTION TO CONFIRM
         THE AUTOMATIC STAY HAS TERMINATED AND IS NOT IN EFFECT
             AS TO THE DEBTOR AND CO-DEBTOR ARMENIA ORTEGA

         THIS MATTER came before the Court on August 7, 2018 upon BSI Financial Services,

as Servicing Agent for U.S. Bank National Association as Trustee for Igloo Series III Trust’s

Motion to Confirm the Automatic Stay has Terminated and is not in Effect as to the Debtor and

Co-Debtor Armenia Ortega [D.E. 148] (the “Motion”). The Court, being otherwise duly advised

in the premises, it is, hereby,

         ORDERED, as follows:

         1.     The Motion is GRANTED, as set forth herein.


                                     EXHIBIT “A”
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       2.      The Court confirms that the automatic stay has terminated and is not in effect as

to the Debtor and Co-Debtor, Armenia Ortega, as to allow BSI Financial Services, as Servicing

Agent for U.S. Bank National Association as Trustee for Igloo Series III Trust (“Secured

Creditor”) to commence and/or proceed with foreclosure proceedings regarding the real property

described as follows:


       LOT 35 & 36, BLOCK 29, GRIFFING BISCAYNE PARK ESTATES,
       ACCORDING TO THE PLAT RECORDED IN PLAT BOOK 15, PAGE(S)
       53, AS RECORDED IN THE PUBLIC RECORDS OF MIAMI-DADE
       COUNTY, FLORIDA.

       A/K/A: 11910 N.E. 10TH AVE., BISCAYNE PARK, FL 33161-6414
       (the “Property”)


       3.      The Secured Creditor is allowed to commence and/or continue its foreclosure

proceedings so as to allow the state court to enter all necessary orders, judgments, and decrees

associated therewith as to the Property described herein.

       4.      This relief is in rem only in order to complete the state court foreclosure

proceedings through certificate of title and possession of the Property; however, Secured

Creditor shall not seek any in personam relief against the Debtor or Co-Debtor without further

order of the Court.

       5.      The Court waives the time requirements under Rule 4001(a)(3) and deems the

relief from co-debtor relief effective immediately.

       6.      Secured Creditor is exempted from further compliance with Fed. Rule Bankr.

P. 3002-1 in the instant bankruptcy case.




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       7.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

                                                    ###
Submitted by:

Chase A. Berger, Esq.
Florida Bar No. 083794
cberger@ghidottiberger.com
GHIDOTTI ǀ BERGER, LLP
3050 Biscayne Boulevard - Suite 402
Miami, FL 33137
Telephone: (305) 501.2808
Facsimile: (954) 780.5578

Copies furnished to:
Chase A. Berger, Esq.
Mr. Berger shall serve a conformed copy of this Order upon all interested parties and shall file a
Certificate of Service within three (3) days from the entry date of this Order.




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